    Case 1:19-cv-00657-MN Document 1 Filed 04/09/19 Page 1 of 3 PageID #: 1



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

SHANTELL M. HUNTER,                                   )
                                                      )
                Plaintiff,                            )
                                                      )
        v.                                            )
                                                      )
THE UNITED STATES OF AMERICA,                         )        JURY TRIAL DEMANDED
                                                      )
                Defendant.                            )

                                            COMPLAINT

        1.      This is an action arising under the Federal Torts Claims Act, 28 U.S.C. §§ 2671 et

seq. This Court is vested with personal jurisdiction pursuant to 28 U.S.C. § 1346(b).

        2.      The Plaintiff, Shantell M. Hunter, resides at 1206 Terra Hill Drive, Apartment 1B,

Wilmington, Delaware 19809.

        3.      On or about October 12, 2017, the Plaintiff was at all times herein relevant

exercising due care and was operating a motor vehicle southbound on Route 1 in Delaware.

        4.      At or about the same time and place, John L. Richter was operating a motor vehicle,

as an employee of the Defendant, on southbound Route 1 when he caused his vehicle to collide

with the rear of the Plaintiff’s vehicle.

        5.      John L. Richter was negligent in that he:

                (a)     Failed to maintain a proper lookout;

                (b)     Failed to maintain proper control over his vehicle;

                (c)     Operated his motor vehicle in a careless manner in violation of 21 Del. C.

§4176(a);

                (d)     Operated his motor vehicle in an imprudent manner in violation of 21 Del.

C. §4176(a);
    Case 1:19-cv-00657-MN Document 1 Filed 04/09/19 Page 2 of 3 PageID #: 2



               (e)     Operated his vehicle without due regard for road and traffic conditions then

existing in violation of 21 Del. C. §4176(a);

               (f)     Failed to maintain a proper lookout in violation of 21 Del. C. §4176(b);

               (g)     Failed to give his full time and attention to the operation of her motor

vehicle in violation of 21 Del. C. §4176(b);

               (h)     Failed to control the speed of his motor vehicle as was necessary to avoid

colliding with another motor vehicle on the highway in violation of 21 Del. C. §4168; and

               (i)     As otherwise will be revealed through discovery in this case.

       6.      At all times relevant, John L. Richter was a servant, agent or employee of Defendant

United State of America.

       7.      Each of the aforementioned acts of negligence of John L. Richter is attributable to

Defendant by reason of the doctrine of respondeat superior.

       8.      Each of the aforementioned acts of negligence of the Defendant constitutes the

proximate cause of the incident, injuries and damages resulting to the Plaintiff.

       9.      As a proximate result of the negligence of the Defendant, the Plaintiff has suffered

the following injuries and damages:

               (a)     Personal injuries, all of which may be permanent;

               (b)     Pain and suffering;

               (c)     Medical expenses, plus future medical expenses; and

               (d)     Lost wages.

       10.     On August 20, 2018, Plaintiff submitted a claim based on these allegations in the

amount of Two Hundred Fifty One Thousand Five Hundred Thirty Five Dollars and One Cent

($251,535.01) to the Defendant which was received by the Defendant on August 24, 2018.
    Case 1:19-cv-00657-MN Document 1 Filed 04/09/19 Page 3 of 3 PageID #: 3



       WHEREFORE, Plaintiff demands judgment against the Defendant in the amount of Two

Hundred Fifty One Thousand Five Hundred Thirty Five Dollars and One Cent ($251,535.01) for

personal injuries, pain and suffering, past and future medical expenses, interest and court costs.

                                              WEIK, NITSCHE & DOUGHERTY, LLC

                                              /s/ Gary S. Nitsche
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